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                                UNITED STATES DISTRICT COURT
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                               CENTRAL DISTRICT OF CALIFORNIA
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10   KEVIN A. WHITE,                                  Case No. LACV 18-3272-DMG (LAL)

11                                  Petitioner,       JUDGMENT
12                        v.

13   DEBBIE ASUNCION, Warden,

14                                     Respondent.

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17          Pursuant to the Order Accepting Report and Recommendation of United States
18   Magistrate Judge,
19          IT IS ADJUDGED that the Petition is denied and this action is dismissed with prejudice.
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     DATED: October 20, 2020                      ________________________________________
22                                                DOLLY M. GEE
23                                                UNITED STATES DISTRICT JUDGE

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